 Case 1:12-cv-00356-BMK Document 30 Filed 05/23/13 Page 1 of 2       PageID.84




Of Counsel:
CHRISTOPHER A. DIAS                  6265-0
Clifford Center
810 Richards Street, Suite 810
Honolulu, Hawaii 96813
Telephone No. (808) 524-4600
Email: chrisdias@hawaii.rr.com

Attorney for Plaintiff

                 IN THE UNITED STATES DISTRICT COURT

                            DISTRICT OF HAWAII

SANAM ELYASSI,                  )         CIVIL NO. CV 12-00356 BMK
                                )
           Plaintiff,           )         CERTIFICATE OF SERVICE
                                )
      vs.                       )         [Re: Plaintiff’s Second Supplemental
                                )         Expert Witness Disclosures; Exhibits
UNITED STATES OF AMERICA;       )         “1" - “2"]
TRIPLER ARMY MEDICAL            )
CENTER; CHRISTOPHER KLEM,       )
M.D.; JARED MCKEAN THELER, )
M.D.; JOHN DOES 1-10; JANE DOES )
1-10; DOE BUSINESS ENTITIES 1- )
10; DOE GOVERNMENTAL            )
ENTITIES 1-10; and DOE          )
DEFENDANTS 1-10,                )
                                )
           Defendants.          )
                                )

                         CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that the original Plaintiff’s Second Supplemental

Expert Witness Disclosures; Exhibits “1" - “2" was served by hand delivery upon
 Case 1:12-cv-00356-BMK Document 30 Filed 05/23/13 Page 2 of 2         PageID.85




the party identified below on the date herein indicated:

      HARRY YEE, ESQ.
      Office of the U.S. Attorney
      300 Ala Moana Boulevard, Room 6-100
      Honolulu, Hawaii 96850

      Attorney for Defendant
      UNITED STATES OF AMERICA

      DATED: Honolulu, Hawaii, May 23, 2013.


                                             /s/ Christopher A. Dias
                                             CHRISTOPHER A. DIAS
                                             Attorney for Plaintiff




                                         2
